          Case 22-60043 Document 138 Filed in TXSB on 09/09/22 Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                      §
                                                                 Case No. 22–60043
                                             §
 Free Speech Systems, LLC,                   §
                                                                    Chapter 11
                                             §
                                                                   Subchapter V
           Debtor.                           §


                                     NOTICE OF HEARING


          PLEASE TAKE NOTICE that a hearing on The Texas Plaintiffs’ Emergency Motion To

Compel Discovery From PQPR Holdings Limited, LLC [ECF No. 137] was scheduled for September

13, 2022 at 1:30 p.m., prevailing central standard time in the United States Bankruptcy Court for the

Southern District of Texas before the Honorable Christopher M. Lopez, 515 Rusk, Houston, TX 77002,

Courtroom No. 401. You may attend in person or by video/telephone. To access the hearing, Dial 1-

832-917-1510. Conference Code: 590153. Telephonic participants may connect on-line to view the

Courts broadcast onto the courtrooms television monitors. To view online, you may connect through

the website located at the following website: https://www.gotomeet.me/JudgeLopez.


          Dated: September 9, 2022            Respectfully submitted,


                                              CHAMBERLAIN, HRDLICKA, WHITE,
                                                 WILLIAMS & AUGHTRY, PC

                                              By: /s/ Jarrod B. Martin
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NOTICE OF HEARING                                                                            PAGE | 1
        Case 22-60043 Document 138 Filed in TXSB on 09/09/22 Page 2 of 2




                                    CERTIFICATE OF SERVICE
        The undersigned certifies that on September 9, 2022, a true and correct copy of this Motion
was served electronically on all parties registered to receive electronic notice of filings in this case via
this Court’s ECF notification system.


                                                 /s/ Jarrod B. Martin
                                                 Jarrod B. Martin




NOTICE OF HEARING                                                                                  PAGE | 2
